Clerk’s Use Only

wane

Oo 7o NY WBN UA BP W NK

BO NHN NY NY NY NY VN NY N FS Se FP FP FP FP Pe PS Ss
BS S KR BB YON fF BG Bb we nr DWH BF WYN | SO

John'D: Radics, £8q.0 2 O'S Document 37 Filed 07/06/11 Page 1 of 1

Grant & Bisenhofer P.A. RECEIVED
485 Lexington Ave., 29th Floor
New York, New York 10017 JUL 96 2011

1
Gain, FG
NORTHERN DISTRICT OF CALIFORNIA 42, ¢ Co
138, 6

et,

LIEFF, CABRASEB, HE
UNITED STATES DISTRICT COURT & BERNSERN wa,

oe Le
SIDDHARTH HARIHARAN, individually Ke, SO
and on behalf of all others similarly Loe, ©
. ont.
situated, Ok
CASE NO, C 11-2509 SBA “2
Plaintiff(s), be
ve APPLICATION FOR

ADOBE SYSTEMS INC., APPLE INC., ADMISSION OF ATTORNEY
GOOGLE INC., INTEL CORP., INTUIT
INC., LUCASFILM LTD., PIXAR, and
DOES 1-200

Defendant(s). /

Pursuant to Civil L.R. 11-3, John D. Radice , an active member in

good standing of the bar of New York and New Jersey , hereby applies

for admission to practice in the Northern District of California on a pro hac vice basis
representing Plaintiff Siddharth Hariharan in the above-entitled action.
In support of this application, I certify on oath that:
1, I am an active member in good standing of a United States Court or of the highest
court of another State or the District of Columbia, as indicated above;
2. I agree to abide by the Standards of Professional Conduct set forth in Civil Local
Rule 11-4, to comply with General Order No. 45, Electronic Case Filing, and to
become familiar with the Local Rules and the Alternative Dispute Resolution
programs of this Court; and,
3. An attorney who is a member of the bar of this Court in good standing and who
maintains an office within the State of California has been designated as co-
counsel in the above-entitled action. The name, address and telephone number of

that attorney is:

Dean M. Harvey, Lieff Cabraser Heimann & Bernstein, LLP, 275 Battery
Street, 29th Floor, San Francisco, CA 94111. Tel: (415) 956-1000

I declare under penalty of perjury that the foregoing is true and correct.

——
Dated: June 30, 2011 La Alt
ZA

